       Case 1-21-40002-jmm          Doc 9   Filed 01/13/21     Entered 01/13/21 14:48:40



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
BROOKLYN DIVISION
 IN RE                                                       CHAPTER 13

 STEVE N. MURRAY A/K/A STEVE                                 CASE NO. 1-21-40002-jmm
 NATHAN MURRAY A/K/A STEVE
 MURRAY                                                      JUDGE: Jil Mazer-Marino


                       DEBTOR

                             NOTICE OF APPEARANCE AND
                           DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE, that the undersigned appears as counsel for Wells Fargo Bank,

N.A., a creditor and a party in interest, pertaining to property located at 1468 Jefferson Ave,

Brooklyn, NY 11237, and pursuant to Rules 2002 and 9010(b) of the Federal Rules of Bankruptcy

Procedure, demands that all notices given or required to be served in this case be given or served,

as the case may be, to or upon the undersigned at the post office address and telephone and

facsimile number set forth below.

Dated: January 13, 2021

                                             Respectfully Submitted,

                                             _/s/ Michael J. Chatwin_____
                                             Michael J. Chatwin
                                             LOGS Legal Group LLP
                                             Attorneys for Wells Fargo Bank, N.A.
                                             175 Mile Crossing Boulevard
                                             Rochester, New York 14624
                                             Telephone: (585) 247-9000
                                             Fax: (585) 247-7380




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                                CERTIFICATE OF SERVICE

         The undersigned certifies that on January 13, 2021, a copy of Notice of Appearance was

deposited in an enclosed, properly addressed postage-paid envelope, and served by ordinary U.S.

Mail, postage prepaid, and/or electronically upon the following:

Debtor
Steve N. Murray
1468 Jefferson Ave
Brooklyn, NY 11237

Attorney for Debtor
Clover M. Barrett, Clover M. Barrett, P.C.
cbarrettpc@aol.com

Trustee
Michael J. Macco
ecf@maccolaw.com



Dated: January 12, 2021                              _/s/ Michael J. Chatwin_____
                                                     Michael J. Chatwin
                                                     LOGS Legal Group LLP
                                                     175 Mile Crossing Boulevard
                                                     Rochester, New York 14624
                                                     Telephone: (585) 247-9000
                                                     Fax: (585) 247-7380
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